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IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF FLORIDA

HM FLORIDA-ORL, LLC, )
Plaintiff, )
V. ) Case No.
THE STATE OF FLORIDA, )
ON DESANTIS, in his official ,and ) COMPLAINT FOR VIOLATIONS OF THE
and individual capacity as Governor ) CIVIL RIGHT ACT OF 1871, 42 U.S.C.

of Florida, MELANIE GRIFFIN, in her ) Section 1983
official capacity as Secretary of THE
STATE DEPARTMENT OF BUSINESS

STATE OF FLORIDA,

)
)
AND PROFESSIONAL REGULATION, _ )
)
Defendants. )

)

 

PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION WITH INCORPORATED MEMORANDUM OF LAW

The Plaintiff, HM FLORIDA-ORL, LLC, by and through counsel, moves this Honorable
Court to issue a Temporary Restraining Order preventing Plaintiffs from enforcing the

amendments and additions to Florida state statutes 509.261, 561.29, and 827.11:
I. NATURE OF THE ACTION

1. This action is brought under 42 U.S.C. Section 1983 and is premised on the First and

Fourteenth Amendments to the United States Constitution.
Il. SUBJECT MATTER AND JURISDICTION

2. This Court has original subject matter jurisdiction pursuant to 28 U.S.C. Sections 1331 and

1343 on the grounds that the claims asserted herein arise under U.S.C. Sections 1983 and 1988.
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3. Venue is proper in this Court and Division pursuant to 28 U.S.C. Section 1391 on the grounds
that all or a substantial portion of the acts giving rise to the violations alleged herein occurred in

this judicial district.

Il. THE PARTIES AND PERSONAL JURISDICTION

4. Plaintiff, HM FLORIDA-ORL, LLC, is a Florida limited liability company registered in the
State of Florida in Orlando, Florida since 2008 that is a restaurant and bar serving alcohol and

presents drag show performances, comedy sketches, and dancing.

5. Defendant RON DESANTIS is the Governor of the State of Florida. He is sued in his
official capacity and individual capacity. Defendant DESANTIS may be served with process at

his office, 400 S Monroe St, Tallahassee, FL 32399.

6. Defendant MELANIE GRIFFIN is the Secretary of the State Department of Business and
Professional Regulation for the state of Florida. She is sued in her official capacity and individual
capacity. Defendant GRIFFIN may be served with process at at her office, 2601 Blairstone Rd,

Tallahassee, FL 32399.

7. Defendant STATE OF FLORIDA may be served with process via service upon the Secretary

of State at 500 S. Bronough St., Tallahassee, Fl. 32399.

8. All Defendants are collectively referred to hereinafter as “the State”.

IV. FACTUAL ALLEGATIONS

Florida Governor and Legislators Fight to Prevent Family Friendly Drag Show

9. In December 2022, the State of Florida began administrative proceedings with the

Department of Business and Professional Regulation for violating public nuisance, lewd activity
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and disorderly conduct laws. One business is a hotel associated with a performance center, and
another is a performing arts center, which both hosted an event entitled, “A Drag Queen
Christmas”, and the other is a restaurant that hosted a drag queen weekend brunch. DBPR is

seeking to revoke the liquor licenses of these businesses!

The venues are accused to failing to
provide notice of the “sexually explicit nature of the performance” DBPR alleges that the “sexually
explicit show” would constitute a public nuisance, lewd activity, and disorderly conduct when
minors are in attendance.” Revocation of their liquor license was one of the penalties the venues
would suffer. The allegations are that drag shows are tantamount to “lewd exhibition, operating a
3

lewd establishment, public exposure, obscene exhibition, breach of the peace and public nuisance.

The case is pending.

10. On May 17, 2023, Governor Desantis signed into law an amendment to Florida Statute

509.261 to include the following provisions:

(10)(a) The division may fine, suspend, or revoke the license of any public lodging
establishment or public food service establishment if the establishment admits a

child to an adult live performance, in violation of s. 827.11.

 

1 Tampa Bay Times, Ana Ceballos and Joey Flechas, Florida goes after liquor license of Miami hotel over drag show,
March 14, 2023, https://www.tampabay.com/news/florida-politics/2023/03/14/drag-queen-minors-liquor-license-
Igbtq-hotel-miami/

? Administrative Complaint, Department of Business and Professional Regulation, Division of Alcoholic Beverages
and Tobacco, Petitioner, v. HRM Owner, LLC, d/b/a Hyatt Regency Miami, March 14, 2023

3 The statutes that were allegedly violated and listed in the complaint were: Lew or lascivious exhibition in the
presence of a minor less than 16 years of age (s. 800.04(7)(a), F.S.); Operation of any place, structure, building, or
conveyance for the purposes of lewdness (s. 796.07(2)(a0, F.S.); The unlawful exposing or exhibiting of one’s sexual
organs in public or on the private premises of another in a vulgar or indecent manner (s. 800.03, F.S.); Knowingly
promoting, conducting, performing, or participating in an obscene show, exhibition, or performance by live persons
or a live person before an audience (s. 847.011(4), F.S.; Breach of the peace and disorderly conduct with acts that
are of such nature as to corrupt the public morals, or outrage the sense of public decency (s. 877.03, F.S.); and
Maintaining a nuisance by erecting or maintaining a structure that tends to annoy the community or injure the
health or the community, or becomes manifestly injurious to the morals or manners of the people (s. 8230.5(1),
FS.)
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(b) A violation of this subsection constitutes an immediate serious danger to the

public health, safety, or welfare for the purposes of s. 120.60(6).

(c) Notwithstanding subsection (1), the division may issue a $10,000 fine for an

establishment’s second or subsequent violation of this subsection.
And also signed into law was:

Paragraph (1) of section 561.29, Florida Statutes, was amended to include the

following language:
561.29 Revocation and suspension of license; power to subpoena. —

(1) The division is given full power and authority to revoke or suspend the license
of any person holding a license under the Beverage Law, when it is determined or

found by the division upon sufficient cause appearing of:

(1) Maintaining a licensed premises that admits a child to an adult live performance

in violation of s. 827.11.

1. A violation of this paragraph constitutes an immediate, serious danger to the

public health, safety, or welfare for the purposes of s. 120.60(6).
2. The division may issue a $5,000 fine for a first violation of this paragraph.

3. The division may issue a $10,000 find for a second or subsequent violation of

this paragraph.
And Section 827.11 Florida Statutes was created to read:

827.11 Exposing children to an adult live performance. —
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(1) As used in this section, the term:

(a) “Adult live performance” means any show, exhibition, or other presentation in
front of a live audience which, in whole or in part, depicts or simulates nudity,
sexual conduct, sexual excitement, specific sexual activities as those terms are
defined in s. 847.011, lewd conduct, or the lewd exposure of prosthetic or imitation

genitals or breasts when it:
1. Predominantly appeals to a prurient, shameful, .or morbid interest;

2. Is patently offensive to prevailing standards in the adult community of this state
as a whole with respect to what is suitable material or conduct for the age of the

child present; and

3. Taken as a whole, is without serious literary, artistic, political, or scientific value

for the age of the child present.

(b) Knowingly” means having general knowledge of, reason to know, or a belief or

ground for belief which warrants further inspection or inquiry of both:

1. The character and content of any adult live performance described in this section

which is reasonably susceptible of examination by the defendant; and
2. The age of the child.

(2) A person’s ignorance of a child’s age, a child’s misrepresentation of his or her
age, or a bona fide belief of a child’s consent may not be raised as a defense in a

prosecution for a violation of this section.

(3) A person may not knowingly admit a child to an adult live performance.
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(4) A violation of subsection (3) constitutes a misdemeanor of the first degree,

punishable as provided in s. 775.082 or s. 775.083.

11. Plaintiff’s restaurant, HAMBURGER MARY’S, has for fifteen years presented drag

performances at its venue.

12. Plaintiff offers “family friendly” drag performances announced on Sundays where children
are invited to attend. There is no lewd activity, sexually explicit shows, disorderly conduct, public

exposure, obscene exhibition, or anything inappropriate for a child to see.

13. Drag is defined as “clothing more conventionally worn by the other sex, especially
exaggeratedly feminine clothing, makeup, and hair adopted by a man™ Drag is usually performed
as entertainment and often includes comedy, singing, dancing, lip-syncing, or all of the above.

Prosthetic breasts are commonly used by men impersonating women as part of the art.

14. Drag is not a new art form; nor is it inherently — or even frequently — indecent. Drag has
been present in western culture dating back to Ancient Greek theatrical productions, where women
were often not permitted to perform onstage or become actors. Instead, male actors would don

women’s attire and perform the female roles.°

15. The earliest productions of William Shakespeare’s plays also featured male actors in drag

playing the female roles.°

16. By the 1800s, “male or female impersonation” was known as “drag”.

 

* Drag, OxfordLearnersDictionary.com, https://www.oxfordlearnersdictionaries.com/us/definition/english/drag_|
(last visited March 25, 2023)

5 Ken Gewertz, When Men Were Men (and Women, Too), The Harvard Gazette (July 17, 2003), https://
news.harvard.edu/gazette/story/2003/07/when-men-were-men-and-women-too/

6 Lucas Garcia, Gender on Shakespeare’s State: A Brief History, Writer’s Theatre, (November 21, 2018),
https://www.writerstheatre.org/blog/gener-shakespeares-stage-history/
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17. The vaudeville shows of the late 1800s and early 1900s popularized drag, or “female
impersonators.”’ One of the most well-known vaudeville female impersonators, Julian Eltinge,

made his first appearance on Broadway in drag in 1904.8

18. By 1927, drag had become specifically linked with the LGBTQIA community, and by the
1950s, drag performers began entertaining in bars and spaces that specifically catered to gay

people. In the decades that followed, drag solidified itself as an art form.?

19. Although drag is still centered around and holds special historical significance for the
LGBTQIA community, the art form is now definitely a part of mainstream culture. One is as likely
to find straight people at a drag show as gay people. RuPaul’s Drag Race — a drag competition
television show — has won seven Emmy Awards and is currently in its fifteenth season. The show

has spinoffs in the UK, Australia, Chile, Thailand, Canada, Italy, Spain, and elsewhere.

20. Like all forms of performance art, drag encompasses a vast spectrum of expression. Every
drag performer makes unique choices about attire, choreography, comedy, and music which can
range from a performer in a floor-length gown lip-syncing to Celine Dion songs and making G-
rated puns, to the Rocky Horror Picture Show, to sexual innuendo and the kind of dancing on could

expect to see at a Taylor Swift or Miley Cyrus concert.

 

7 Nan Alamilla Boyd, Wide Open Town: A History of Queer San Francisco to 1965, University of California Press,
2003.

8 Michael F. Moore, Drag! Male and Female Impersonators on State, Screen, and Television: An illustrated World
History, McFarland & Company, 1994.

9 Nan Alamilla Boyd, Wide Open Town: A History of Queer San Francisco to 1965, University of California Press,
2003.
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21. Modern drag performances typically do not contain nudity. More often than not, drag
performers wear more clothing than one would expect to see at a public beach, and many drag

shows are intended to be appropriate for all ages.

22. The Sunday Brunch drag show at Hamburger Mary’s has traditionally hosted gay, straight,
couples, married couples, children, and grandchildren, as it is a wholesome form of art and

entertainment. It is a form of family entertainment, enjoyed by all.

23. Undercover state agents were sent by the administration of Republican Florida Gov. Ron
DeSantis to spy on an Orlando drag show — and they found nothing "lewd" about it, according to
the Miami Herald. Yet, Florida has moved to revoke the venue operator's liquor license, alleging
in an official complaint that the venue violated state law "by allowing performers to expose genitals
in a lewd or lascivious manner and by conducting acts simulating sexual activity in the presence

of children younger than 16 years of age."'°

24. Undercover agents who attended the December 28, 2022 show titled, "A Drag Queen
Christmas," at Orlando's Plaza Live recorded the performance on their state-issued iPhone's and
spotted three children at the drag show, according to the Herald, which obtained and published an
incident report from the agents. "Besides some of the outfits being provocative (bikinis and short
shorts), agents did not witness any lewd acts such as exposure of genital organs," the agents wrote

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in their report, according to the newspaper. "The performers did not have any physical contact

while performing to the rhythm of the music with any patrons."|!

 

10 Miami Herald reports undercover agents saw nothing ‘lewd’ at Orlando drag show. Florida is going after venue
anyway : r/Miami (reddit.com)

DeSantis Admin Sent Undercover Agents to Drag Show, Found Nothing 'Lewd' (businessinsider.com)
https://www.businessinsider.com/desantis-florida-undercover-agents-drag-show-found-nothing-lewd-2023-3
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25. It is apparent from the actions of the State of Florida, that it intends to consider drag shows
to be a public nuisance, lewd, disorderly, sexually explicit involving public exposure and obscene
and that it is necessary to protect children from this art form, in spite of evidence to the contrary.
Such is the Summary Analysis of the Florida Senate when it passed the law signed by Governor

Desantis.!

26. Florida already has on its books, laws preventing exposure of minors to lewd, sexually
explicit, obscene, vulgar or indecent displays. Florida Statute Chapter 847 and the power to revoke
licenses of establishments that are maintaining a nuisance on the premises in Florida Statute

561.29.

27. The law, as passed, intends to use the FDBP to revoke or suspend the licenses of businesses
if it admits a child to an adult live performance, in violation of s. 509.261? It reads: (10)(a) The
division may fine, suspend, or revoke the license of any public lodging establishment or public
food service establishment if the establishment admits a child to an adult live performance, in
violation of s. 827.11. (b) A violation of this subsection constitutes an immediate serious danger to

the public health, safety, or welfare for the purposes of s. 120.60(6).

28. Upon the announcement that the bill had been signed and the law was in effect, Hamburger
Mary’s advised its customers that children would not be permitted to attend any drag shows.
Immediately, 20% of their bookings cancelled for the May 21, 2023 show and for future bookings.
In addition to the loss of customer’s cancelling, the establishment has had to ban children from the
family friendly performances because they simply cannot take the chance that their business or

liquor licenses would be suspended for hosting a drag show where children attend. In addition, the

 

12 Text of Bill Analysis and Fiscal Impact Statement, The Florida Senate, SB 1438
13 Text of 509.261)10)(a) Florida Statutes for Revocation or suspension of licenses; fines; procedure.
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criminal penalties of the law put individuals at risk of prosecution because of the content of their
speech. Also recently, the Port St. Lucie Pride event was forced to cancel the parade due the
pending state law restricting drag performances.'* The Florida Gay Pride Parade was canceled by
the Pride Alliance of the Treasure Cost in anticipation of the signing of the laws complained of in
this Complaint.'* Florida City canceled it Pride Parade that has traditionally been part of Pridefest
in response to the anticipated law.'® The law and anticipation of it has had a chilling effect upon

free speech in Florida.
V. CAUSES OF ACTION

COUNT 1 — VIOLATION OF 42 U.S.C. SECTION 1983 UNDER THE FIRST

AMENDMENT

29. Plaintiff incorporates all allegations of fact in all preceding paragraphs as if fully set forth

in this Count.
30. The statute is facially unconstitutional under the First Amendment for several reasons.

31. First, the statute is not content-neutral, and is therefore subject to strict scrutiny. It prohibits
protected speech based on the identity of the speaker. City of Austin v. Reagan National Adver. Of

Austin, LLC., 142 S. Ct. 1464, 1471 (2022).

a. “To survive strict scrutiny analysis, a statute must: (1) serve a compelling

governmental interest; (2) be narrowly tailored to achieve that interest; and (3) be the least

 

14 https://news.yahoo.com/florida-city-scales-back-pride=160251520.html.
15 https://www.nbcmiami.com/news/local/florida-gay ...
16 https://people.com/politics/florida-pride-parade-canceled-anit-drag-bill
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restrictive means of achieving that interest.” Sable Communications of Cal, Inc. v. Fed

Communications Commission, 482 U.S. 115, 126, 109 S.Ct. 2829, 2836, 106 L.Ed. 2d 93 (1989).

b. Plaintiff concedes that the Supreme Court has held that “there is a compelling interest
in protecting the physical and psychological well-being of minors.” Sable, 492 U.S. at 126, 109

S.Ct. at 2836.

c. The statute, however, is not tailored narrowly enough to satisfy the First
Amendment’s requirements. It is simply too vague and overbroad. The vagueness doctrine was

described by the U.S. Supreme Court as follows:

“Vagueness doctrine is an outgrowth not of the First Amendment, but of the Due Process
Clause of the Fifth Amendment. A conviction fails to comport with due process if the statute under
which it is obtained fails to provide a person of ordinary intelligence fair notice of what is
prohibited, or is so standardless that it authorizes or encourages seriously discriminatory
enforcement. Although ordinarily a plaintiff who engages in some conduct that is clearly
proscribed cannot complain of the vagueness of the law as applied to the conduct of others, we
have relaxed that requirement in the First Amendment context, permitting plaintiffs to argue that
a statute is overbroad because it is unclear whether it regulates a substantial amount of protected
speech. But perfect clarity and precise guidance have never been required even of regulations that

restrict expressive activity.” United States v. Williams, ___ U.S. ___, 128 S.Ct 1830, 1845 (2008).

“What renders a statute vague is not the possibility that it will sometimes be difficult to
determine whether the incriminating fact it establishes has been proved; but rather the

indeterminacy of precisely what that fact is. Thus, we have struck down statutes that tied criminal
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culpability to whether the defendant’s conduct was ‘annoying’ or ‘indecent’ wholly subjective

judgments without statutory definitions, narrowing context, or settled legal meanings.” /d at 1846.

1. The language used in the statute is meant to be and is primarily vague and indistinct. It
does not mention “drag” by name but it is so broad as to include this art form in the State’s

interpretation under the newly created or amended laws in question.

2. Any person under the age of eighteen is included. The definition in 827.11(1)(b) of
“Knowingly” necessarily requires an accused person to determine if the material is “patently
offensive to prevailing standards in the adult community of this state as a whole with respect to
what is suitable material or conduct for the age of the child present”. Requiring Plaintiff to consider
the age of the child, then determine what the prevailing standards are in the adult community, then
determine what is suitable material or conduct for the age of the child, is overly broad and
susceptible of interpretation if the person accused of exposing the minor to “adult live
performances” is required to figure out if they are impermissibly doing so to any minor, or one
that will be less or more affected by the performance. Each patron who looks to be under the age
of eighteen would have to be examined to determine their level of maturity and how any drag
performance might affect them in order for the management to determine if the material is suitable
for the child, considering only the child’s age, according to the statute. The definition requires the
person accused to examine the character and content of the performance to determine if it is
“reasonably susceptible of examination” for further inspection or inquiry, taking into consideration
only the age of the child. The standard is too vague to know what is and what is not statutorily

permissible. See ACLU v. Ashcroft, at 322 F.3d 255.

3. 827.11(1)(a) describes “adult live performance” in part to be “patently offensive to

prevailing standards in the adult community of this state as a whole with respect to what is suitable
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material or conduct for the age of the child present;” This language is impermissibly vague.
Plaintiff will be forced to guess at the bottom end of the range of ages of children to which the
statute applies and thus will not have “fair notice of what conduct would subject them to criminal
sanctions” under the law and “will be deterred from engaging in a wide range of constitutionally
protected speech.” ACLU v. Ashcroft, at 322 F.3d at 268. . “Adult live performance” as defined in
the bill defines the prohibited conduct by the identity of the speaker.'’ “Lewd conduct” is part of
the definition. It is a vague term subject to interpretation. A man, dressed as a woman wearing a
prosthetic breast, reading books to children of five years of age, may qualify to some as lewd

conduct, simply because the message of the sender in how they are dressed.

4. The definition of “child” as is commonly used, and as is applied in the statute is
overinclusive because it “broadens the reach of ‘material that is harmful to minors’ under the
statute to encompass a vast array of speech that is clearly protected for adults — and indeed, may
not be obscene as to older minors. . . .” /d at 268, American Civil at 206. 8. The definition of
“child” is not specifically set forth in the statute, however, the common meaning under Florida law
is an individual who has not yet reached the age of eighteen years. The statute does not distinguish
between a child of 4 and a person of 17 /%. The term is synonymous with “minor”. Use of the term
“minor” has previously been determined to be not narrowly tailored enough to satisfy First
Amendment requirement. American Civil Liberties Union v. Ashcroft, 332 F. 3d 240, 255 3" Cir.
2003), aff'd Ashcroft v. American Civil Liberties Union, 542 U.S. 656, 12 S.Ct. 2783, 159 L.Ed.2d

690 (2004).

 

17 Florida Statute 827.11(1)(a)
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5. Furthermore, the inclusion of “community standards” exacerbates the constitutional
problems for the statute in that it further widens the spectrum of protected speech that the statute
affects. It requires the most restrictive and conservative state’s community standards in order to
avoid criminal liability. /d at 270. “Community standards” has been found to be unconstitutionally

overbroad. ACLU v. Reno, 217 F.3d 162, 173 (3 Cir. 2000).

6. The conduct that is offensive must “predominately appeal to a prurient, shameful, or
morbid interest; and is patently offensive to prevailing standards in the adult community of this
state as a whole with respect to what is suitable material or conduct for the age of the child present;
and taken as a whole, is without serious literary, artistic, political, or scientific value for the age of
the child present.”. '’ The terms “predominately”, “shameful or morbid” are vague terms subject
to the interpretation of the reader and not subjective. What is suitable material or conduct for the
age of the child present is too indistinct for the speaker to know what is prohibited. Again, some

might consider a man in a dress reading to five years told to be unsuitable conduct.

7. “Patently offensive to prevailing standards in the adult community of this state as a
whole with respect to what is suitable material or conduct for the age of the child present” is
similarly vague and indistinct as standards in different parts of the state differ, as do what is suitable
material for different aged children. '? This is not a subjective standard subject to identification by

the reader as to what is prohibited.

8. FS 827.11(1)(b) requires the Plaintiff to make a determination of the “character and

content of the adult performances” they intent to produce and “the age of the child.” This is

 

18 Florida Statute 827.11(1)(a)1
19 Florida Statute 827.11(1)(a)2
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impermissibly overbroad. Simply stated, what might be inappropriate for a child of five to see is

not necessarily inappropriate for a minor of seventeen years.

9. “Without serious literary, artistic political or scientific value for the age of the child
present.” *° This obligation cannot be met by a subjective standard. Seeing a performer in clothing
not gender usual, dancing and singing, may be perfect for a two year old to see, but by whose

standard is this decision to be made? The reader is only made to guess what conduct is prohibited.

d. The burden is on the Government to prove that the statute contains the least restrictive
alternatives to accomplish the aims of the legislation. Ashcroft vy. ACLU,542 U.S. at 665, 124 S.Ct.
at 2791. “[T]he burden is on the Government to prove that the proposed alternatives will not be
as effective as the challenged statute.” /d. Citing Reno v. ACLU, 521 U.S. 844 at 874, 117S.Ct. at
2346. The wide swath with which Florida Statute 827.11 is painted captures all persons under the
age of eighteen under the umbrella of the State’s intent to protect minors without definition of how
the age of the child applies to general knowledge of or belief that warrants further inspection or

inquiry of whether the intended performance is prohibited.

32. “Laws that cannot be justified without reference to the content of the regulated speech, or
that were adopted by the government because of disagreement with the message the speech
conveys. Those laws, like those that are content based on their face, must also satisfy strict

scrutiny.” Reed v. Town of Gilbert, 576 U.S. 155, 164 (2015).

33. An examination of similar legislation was conducted by the United States District Court
for the Western District of Tennessee, Western Division in the recent case of Friends of George s,

Inc. v. State of Tennessee, et al, 2:23-cv-02163-TLP-tmp and 2:23-cv-02176-TLP-tmp where a

 

20 Florida Statute 827.11(1)(a)3
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temporary restraining order was entered against a state law criminalizing the performance of “adult
cabaret entertainment” in any location that it could be viewed by a person not an adult. The

constitutional evaluation is instructive and relied upon herein.

34. The First Amendment generally prevents states from limiting speech and expressive
conduct based on the ideas expressed. Jexas v. Johnson, 491 U.S. 397, 406 (1989). So, content-
based regulations are presumptively invalid. R.A.V. v. City of St. Paul, 505 U.S. 377, 382 (1992).
In Reed v. Town of Gilbert, the United States Supreme Court observed that there are two ways to
determine whether a law is content-based regulation. 576 U.S. 155, 163-64 (2015). First, a law is
content-based on its face by “defining regulated speech by particular subject matter.” /d. Second
a law may appear to be content-neutral on its face but courts consider it to be content-based if it
was “adopted by the government ‘because of disagreement with the message [the speech]

conveys.” Jd at 164 (quoting Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989).

35. Content-based regulations must survive strict scrutiny to be constitutional. Reed, 576 U.S.
at 171 (2015). This is an exceptionally high bar — it means that the law is presumptively
unconstitutional. Id. The Court will only uphold the law if it is justified by a compelling
government interest, and it is narrowly drawn to serve that interest. /d. At 175 (Breyer.J.,

concurring)(observing that strict scrutiny in speech cases is “almost certain legal condemnation”).

36. If the State is to argue that the acts prohibited by the new laws are already codified in the
statutes and the new laws are content-neutral, the United States Supreme Court precedent under
Reed requires the Court to consider the legislative history of the suspect legislation. See Reed, 576
U.S. at 164. It is apparent that the law was enacted because of a disagreement with a particular
message or messenger. As stated herein, the Summary Analysis of the House and Senate bills cite

as recent events the complaints filed by the DBPR against venues that hosted an event entitled, “A
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Drag Queen Christmas”. It is unquestionable that the State’s interest is to stop children from
attending drag events at restaurants, performances, bars, and any other events. As such, the statute

is view-point discriminatory because it targets drag queens.

37. The United States Supreme Court has “traditionally viewed vagueness and overbreadth as
logically related and similar doctrines.” Ko/lender v. Lawson, 461 U.S. 352, 358 n.8 (1983). A law
is unconstitutionally vague if individuals of “common intelligence must necessarily guess at its
meaning and differ as to its application[.|” Conally v. Gen. Const. Co., 269 U.W. 385 (1926). A
law is unconstitutionally overbroad if it sweeps in more speech than is necessary to satisfy the
state’s interest, regulating both protected and unprotected speech. See Broadrick v. Oklahoma, 413
U.S. 601, 610 (1973). The United States Supreme Court has described the overbreadth doctrine
as a “strong medicine,” that justifies invalidation of laws that can chill the effects of speech through
self-censorship on the regulated, and can spark the harms of selective enforcement on the regulator.
Id. At 613; Kolender v. Lawson, 461 U.S. 352, 358 (1983)(noting that overbreadth and vagueness
doctrines check the legislature’s need to establish minimal guidelines to govern law enforcement

to avoid a standardless sweep of enforcement).

38. The statute prohibits what is described as adult live performances, which would include
female impersonators, by implication, anyplace in the state. Even though businesses are targeted
in Section 509.261, the law also creates Florida Statute 827.11 to apply anywhere in the state, such
as a public parade, or a person’s back yard. As was pointed out by the United States District Court,
Western District of Tennessee in Friends of Georges, Inc., v. State of Tennessee, et al, 2:23-cv-
02163-TLP-tmp, in granting its temporary restraining order on March 31, 2023, “What if a minor
browsing the worldwide web from a public library views an adult live performance? Ultimately,

the Statute’s broad language clashes with the First Amendments’ tight constraints.”
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39. While the evidence of lewd conduct at “A Drag Queen Christmas” was not substantiated by
the undercover state agents who attended (see above), this has not stopped the State from enacting
the proposed law with the intent of stopping drag performances anywhere in F lorida, using the
alleged lewd conduct of “A Drag Queen Christmas” as its motivation. The State’s rationale would
stop any performance of Victor/Victoria, La Cage Aux Folles, Milton Berle, I Love Lucy, or Some
Like It Hot, all American performance staples where the characters perform in clothing usually
worn by the opposite sex. Any suggestion that the outfit a person wears is necessarily harmful to

a child strains credulity.

40. The application of the statute as written is so broad as to have a chilling effect on protected

speech.

41. “The severity of criminal sanctions may well cause speakers to remain silent rather than
communicate even arguable unlawful words, ideas, and images. As a practical matter, this
increased deterrent effect, coupled with the risk of discriminatory enforcement of vague
regulations, poses greater U.S. Const. Amend I concerns that those implicated by certain civil

regulations.” Reno v. ACLU, 521 U.S. 844, 872 (1997).

42. The amendments to Florida Statute Section 827.11, Florida Statutes, also open up any
establishment — or even a private home — that hosts drag shows to police raids, so law enforcement

can be certain that no children are present at the event.
This Law Will Violate the Constitutional Rights of Plaintiff, HM FLORIDA-ORL, LLC

43. The uncertainty about what specific conduct this law prohibits, as well as the threat of

police surveillance and criminal charges, is precisely what concerns the Plaintiff in this case.
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44. Since its opening in 2008, Hamburger Mary’s has hosted drag-centric performances,
comedy sketches, bingo, trivia, and dancing. Traditionally, their performances have been open to

all ages.

45. Hamburger Mary’s is recognized by the LGBTQIA and the straight communities as
supplying family friendly entertainment. At such times, as the entertainment is not suitable for
children, children are not allowed to attend and the venue announces this in advance on their

website and in their advertising.

46. The family drag shows have been cancelled. They cannot take place if the law is allowed

to stand. Plaintiff will suffer deprivation of its First Amendment rights.

47. As alleged above, the State seeks to explicitly restrict, or chill speech and expression
protected by the First Amendment based on its content, its message, and its messenger. The statute
is therefore “presumptively unconstitutional and may be justified only if the government proves
that they are narrowly tailored to serve compelling state interests.” Reed v. Town of Gilbert, 576

U.S. at 163.

48. This statute cannot survive strict scrutiny. While the government has a recognized interest
in “protecting children from harmful materials,” Florida law already protects children from

obscenity and sexually explicit conduct and materials. Florida Statutes Chapter 847.

49. Legislators and the Governor have made it clear that this law was created to prevent children
from drag shows. The government does not have a compelling interest in protecting children from

drag shows.

50. Even if the State could identify a compelling interest, this law is far from narrowly tailored.

It is broad enough to encompass even the most innocent drag performances, to reach into the
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private homes of Florida citizens, and to determine on behalf of parents what is and is not

appropriate entertainment for their children.

51. The broad, sweeping nature of the statute, and the vagueness regarding what conduct is and
is not prohibited, will have a chilling effect on the First Amendment rights of the citizens of

Florida.
A Temporary Restraining Order in necessary to prevent harm to free speech

52. Plaintiff acknowledges that a Temporary Restraining Order is an extraordinary remedy.
Courts issue TROs to “preserve the status quo so that a reasoned resolution of a dispute may be
had.” Proctor & Gamble Co. v. Bankers Trust Co., 78 F.3d 219, 227 (6 Cir. 1996). As such
Plaintiff has the burden of showing they are entitled to a preliminary injunction. See Jones v.

Caruso, 569 F. 3d 258, 265 (6" Cir. 2009).

53. Courts consider TRO motions under the same four-factor test for preliminary injunction
motions: (1) whether the movant has a strong likelihood of success on the merits, (2) whether
the movant would suffer irreparable harm absent a TRO, (3) whether granting a TRO would
cause “substantial harm” to others, and (4) whether the public interest would be served by
the issuance of a TRO. See Ohio Republican Party v. Brunner, 543 F.3d 357, 361 (6" Cir. 2008).
In cases about a constitutional challenge to a state law, “the first factor [likelihood of success on
the merits] is typically dispositive.” Vitolo v. Guzman, 999 F.3d 353, 360 (6" Cir. 2021). And the
third and fourth factors “merge when the Government is the opposing party.” Nken v. Holder, 556

U.S. 418, 435 (2009).

54. In order to conduct a review of the four factors as applied to this case, Plaintiff first must

show Article HI standing, that it has suffered an injury in fact — a legally protected interest that is
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concrete, particularized, and actual or imminent, that Defendants likely caused the injury, and that
Judicial relief would likely redress the injury. Lujan v. Def. of Wildlife, 504 U.S. 555, 560-61
(1992). The United States Supreme Court has held that overbreadth challenges to a statute
restricting free speech justify a “lessening of prudential limitations on standing.” Sec 'y of State of

Md. V. Munson, 467 U.S. 947, 956-57 (1984).

a. The fact that the statutes are both vague and overly-broad indicates that Plaintiff has
suffered an actual, concrete, and particularized injury in that it has a reasonable fear of prosecution
for conducting shows similar to those it has performed in the past, which may be punishable by
the statutes with criminal effect. Plaintiff is unable to advertise or put on shows that would admit
minors due to the statutes. Plaintiff should not be required to eat the proverbial mushroom to find

out whether it is poisonous. The law does not require this for standing.

b. If Defendants are saying they are not tasked with enforcement, Plaintiff would point out
that the State Division of Hotels and Restaurants of the Department of Business and Professional
Regulation is tasked with enforcement in the Florida Statute 509.261. The criminal penalties are
enforceable under the laws of the State of Florida, as Defendant. The statutes present a reasonable
risk that both the Governor and Attorney General may investigate and criminally prosecute
Plaintiff for hosting its performances. See United States v. Stevens, 559 U.S. 460 (2010) (“We
would not uphold an unconstitutional statute merely because the Government promised to use it
responsibly.”); Virginia v. Am. Booksellers Ass'n, Inc., 484 U.S. 383, 393 (1988). (“The State has
not suggested that the newly enacted [speech restriction] law will not be enforced. and we see no
reason to assume otherwise . . . Further, the alleged danger of this statute is, in large measure, one

of self-censorship; a harm that can be realized even without an actual prosecution”).
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55. The likelihood is that Plaintiff will succeed on the merits. The statute is content based
regulation. The First Amendment generally prevents states from limiting speech and expressive
conduct based on the ideas expressed. Zexas v. Johnson, 491 U.S. 397, 406 (1989). So, content
based regulations are presumptively invalid. R.A.V. v. City of St. Paul, 505 U.S. 377, 382 (1992).
In Reed v. Town of Gilbert, the United States Supreme Court observed that there are two ways to
determine whether a law is a content based regulation. 576 U.S. 155, 163-64 (2015). First, a law
is content based on its face by “defining regulated speech by particular subject matter.” Jd. Second,
a law may appear to be content neutral on its face but courts consider it to be content based if it
was “adopted by the government ‘because of disagreement with the message [the speech]

conveys.” /d. at 164 (quoting Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989).

a. Content based regulations must survive strict scrutiny to be constitutional. Reed, 576
U.S. at 171 (2015). This is an exceptionally high bar — it means that the law is presumptively
unconstitutional. Jd. The Court will only uphold the law if it is justified by a compelling
government interest, and it is narrowly drawn to serve that interest. Id. At 175 (Breyer, J.,

concurring)(observing that strict scrutiny in speech cases is “almost certain legal condemnation”).

b. There is an argument that the statutes in question are not content based, but content
neutral. Even content neutral regulation can be considered content based. Since there are already
statutes on the books outlawing certain “lewd” behavior, the purpose of the amendments and
additional statutes become a concern for the court. The statutes may be considered content neutral,
but they should be considered a content based regulation “because of disagreement with the
message [the speech] conveys.” Ward, 491 U.S. at 791. If the statutes are facially content neutral,
the United States Supreme Court precedent under Reed requires the Court to consider legislative

history. See Reed, 576 U.S. at 164.
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c. An examination of the legislative history reveals in the Summary Analysis in both the
House and Senate versions of the statute, that “according to recent news stories, at least three
business with liquor licenses in the state are currently being administratively charged by DBPR
with violating public nuisance, lewd activity and disorderly conduct laws. One business is a hotel
associated with a performance center, and another is a performing arts center, which both hosted
an event entitled “A Drag Queen Christmas”; and the other is a restaurant that hosted a drag queen

weekend brunch. DBPR is seeking to revoke the liquor licenses of these businesses.””!

d. Undercover state agents were sent by the administration of Republican Florida Gov.
Ron DeSantis to spy on an Orlando drag show — and they found nothing "lewd" about
it, according to the Miami Herald. Yet, Florida has moved to revoke the venue operator's liquor
license, alleging in an official complaint that the venue violated state law "by allowing performers
to expose genitals in a lewd or lascivious manner and by conducting acts simulating sexual activity

in the presence of children younger than 16 years of age."

e. Undercover agents who attended the December 28, 2022 show titled, "A Drag Queen
Christmas," at Orlando's Plaza Live recorded the performance on their state-issued iPhone's and
spotted three children at the drag show, according to the Herald, which obtained and published an
incident report from the agents. "Besides some of the outfits being provocative (bikinis and short

shorts), agents did not witness any lewd acts such as exposure of genital organs," the agents wrote

 

21Tampa Bay Times, Ana Ceballos and Joey Flechas, Florida goes after liquor license of Miami hotel over drag show,
March 14, 2023, https://www.tampabay.com/news/florida=politics/2023/03/14/drag-queen-minors-liquor-license-
Igbtq-hotel-miami/
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in their report, according to the newspaper. "The performers did not have any physical contact

while performing to the rhythm of the music with any patrons."

f. In spite of the evidence to the contrary that the drag show in question was not “lewd” or
“jnappropriate for children”, the statute was passed and signed into law by the Governor. The lack
of the statutes’ purpose considering current state obscenity laws, along with the statutes’ legislative
history, it is likely that the court will be subjecting the statutes to strict scrutiny. As a result,

Plaintiff has a sufficient likelihood of success on the merits of the case.

g. The statutes are vague and overbroad. The United States Supreme Court has
“traditionally viewed vagueness and overbreadth as logically related and similar doctrines.”
Kolender v. Lawson, 461 U.S. 352, 358 n.8 (1983) A law is unconstitutionally vague if individuals
of “common intelligence must necessarily guess at its meaning and differ as to its application[.]”
Conally v. Gen. Const. Co., 269 U.S. 385 (1926). A law is unconstitutionally overbroad if it sweeps
in more speech than is necessary to satisfy the state’s interest, regulating both protected and
unprotected speech. See Broadrick vy. Oklahoma, 413 U.S. 601, 610 (1973). The United States
Supreme Court has described the overbreadth doctrine as a “strong medicine,” that justifies
invalidation of laws that can chill the effects of speech through self censorship on the regulated,
and can spark the harms of selective enforcement on the regulator. /d. At 613: Kolender v. Lawson,
461 U.S. 325, 358 (1983)(noting that overbreadth and vagueness doctrines check the legislature’s
need to establish minimal guidelines to govern law enforcement to avoid a standardless sweep of

enforcement).

 

22DeSantis Admin Sent Undercover Agents to Drag Show, Found Nothing 'Lewd' (businessinsider.com)
https://www. businessinsider.com/desantis-florida-undercover-agents-drag-show-found-nothing-lewd-2023-3
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h. The statute tracks the same language from the state’s existing regulations on adult
oriented establishments, Florida Statutes Chapters 847 and 561. The prohibitions added to Florida
Statute 827.11 do not limit the offensive activity to businesses. It reaches conduct of performers

virtually anywhere.

56. Absent an injunction, Plaintiff will be barred by criminal penalties from engaging in
protected First Amendment expression. Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S.Ct.
63, 67 (2020).¢‘The loss of First Amendment freedoms, for even minimal periods of time,
unquestionably constitutes irreparable injury.”) Because of the statutes’ vagueness and
overbreadth, it is unclear whether Plaintiff’s allowing performances may be penalized. If the drag
shows occur and Defendants prosecute Plaintiff, it will likely suffer irreparable harm with criminal
sanctions. These penalties carry with them, among other things, potential loss of liberty and great
reputational harm, not to mention denial of a means of livelihood by the suspension of Plaintiff’s
right to sell liquor or conduct its business. But even without enforcement, the vague and overly

broad nature of the statutes can have a chilling effect on speech.

57. Whether granting a TRO would cause “substantial harm” to others. The fifteen year
history of Plaintiff’s drag shows without incident and totally devoid of evidence to harm to children
or any other person is proof enough that the granting of the TRO would not cause any harm to

anyone.

58. Whether the public interest would be served by the issuance of a TRO. In spite of
Defendants’ suspected argument that the public has an interest in ensuring that its officials are not
subject to an aimless injunction and to insure that children are not exposed to lewd and offensive
performances, a TRO is required by law. Since Plaintiff has been engaging in this type of speech

for many years without incident, granting the TRO will cause no harm other than potential
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dissatisfaction by some legislators and the Governor, who are under no obligation to attend the
shows. Simply stated, there is no public interest in preventing children from seeing drag shows.
There is no leap to be taken from a drag show performance to exposing children to lewd or

improper displays.

59. The existing obscenity laws can prosecute most or all of the conduct that the statutes seek
to regulate. Issuing a TRO merely preserves the status quo and benefits the public interest by
clarifying the scope of a law that could impact the First Amendment Rights of Florida citizens and

businesses.

WHEREFORE, Plaintiff demands a Temporary Restraining Order against Defendants and

prays for the following relief:

1. Grant Plaintiff a Temporary Restraining Order and Preliminary Injunction preventing

this unconstitutional statutes from taking effect;
2. Award Plaintiff its reasonable attorney’s fees, pursuant to 42 U.S.C. Section 1988.

3. Award costs and expenses incurred in this action pursuant to Rule 54 of the Federal Rules

of Civil Procedure.
4. Grant the Plaintiff such further relief as the Court may deem just and proper.

I HEREBY CERTIFY that a copy of the foregoing has been furnished to the Defendants

named herein via service of process with the Verified Complaint.

     

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